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IN THE UNITED STATES DISTRICT COURT
FOR THE

NORTHERN DlSTRlCT OF ILLINOIS

Mr. sHAwN GILBERT DocKé-\-ED 000 5 5 8 1

 

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vs ) JUDGE COAR
) .
UNIVERSITY OF CH]CAGO» MAGISTRATE JUDGE aoBRlCK
Lieutenant JAMES CURTIS individually ) ; rl\'_
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Defendants. ) 5 '_ §§
CoMPLAINT 5
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The Plaintiff SHAWN GILBERT, by and through his ATTORNEYS HARRIS,
MITCHELL & DINIZULU, LLC, for his complaint states as follows:
NATURE OF THE CASE JURISDICTION
l. This is a civil action under 42 U.S.C. Section 1981 and 42 U.S.C. Section
M§ of the '14"" Amendment of the United States Constitution and 28 U.S.C.
Sections ]343, charging the Defendant with denial of equal protection of the
law, deprivation of liberty and property interests and discrimination against
Plaintiff in terms and conditions of employment based on race.
2. Plaintiff seeks to be changed to a different shift and compensatory damages
for lost wages, including lost overtime and differential pay, lost career
opportunities and such other affirmative relief as necessary to compensate the

Plaintiff for the discriminatory actions of the defendant, Which deprived

 

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Plaintiff of his right to equal terms and conditions of employment and to a
neutral work environment free of race discrimination and deprived the
plaintiff of liberty and property without due process of the law.

3. Jurisdiction is conferred on the Court by 42 U.S.C. Section 1981 and g
U.S.C. Section 19831, 28 U.S.C. 1343 and the 14th Amendment of the United
States Constitution, Pendentjurisdiction is based upon the lllinois I-Iuman
Rights Act for discrimination based on race discrimination entitling Plaintiff
to monetary damages including punitive damages for intentional
discrimination

PARTIES

4. Plaintiff, SHAWN GILBERT, is a uniformed member of the University of
Chicago Police Department, serving in the rank of Police Officer.

5. Plaintiff, SHAWN GILBERT, is an African American man who resides in the
County of Cook, State of lllinois.

6. Defendant, UNIVERSITY OF CHICAGO is a private entity located in Cook
County, State of lllinois.

7. Defendant, JAMES CURTIS, is the Licutenant of the University of Chicago
Policc department and is sued individually and in his capacity as Lieutenant of
the University of Chicago Police Department.

8. MR. GILBERT has complied with all the administrative prerequisites by
filing a timely Charge of Discrimination based on race with the EEOC. A

copy of the charge is attached hereto. See Exhibit “A”

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On or about June 16, 2()()(), PLAINTIFF, MR. GILBERT received his Notice
of Right to Sue from EEOC. See Exhibit “B”
This lawsuit arises out of the defendants’ repeated acts of discrimination

against the plaintiff based on race.

COMMON ALLEGATIONS
The plaintiff restates and realleges as though fully set forth herein
paragraphs 1-1() of this complaint
Plaintiff has been employed with the University of Chicago Police
Department Since February 8, 1999
On or about November 16, 1999, plaintiff was subjected to different terms
and conditions of employment than his white colleagues because of his race.
As a result of the Defendant’s discriminatory treatment on or about
November 16, 1999, the plaintiff was unfairly disciplined and suspended
without pay.
A shift change is usually granted to requesting officers based on seniority.
The Plaintiff requested a shift change.
Officers with less seniority than the Plaintiff were granted shift changes.
Plaintiff requested a meeting with Associate Director to complain about race
discrimination
Defendant Curtis called Plaintiff a “boy” and told the plaintiff “You can’t do

nothing about it.” (“it” was Defendant Curtis’ overt discrimination against

the Piaimiro.

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Defendant Curtis verbally reprimanded the Plaintiff for wearing a “bike

jacket.”

During that same period the Plaintiff’s white colleagues Wore similar “bike

jackets” and were not verbally reprimanded.

Plaintiff was terminated for not having a notebook at roll call.

Plaintiff’s white colleague did not have a notebook and disciplinary action

was not taken against the Plaintiff’s white colleague

Plaintiff’s termination was later reduced to a nine-day suspension
CLAIMS FOR RELIEF

By reason of the aforesaid discriminatory conduct and the invidious

practices and policies of discrimination, Defendants have denied Plaintiff

his right to a neutral work environment, and has denied Plaintiff equal terms

and conditions of employment, all in violation of 42 U.S.C. Section 1981

and 42 U.S.C. Section 19831, 28 U.S.C. 1343 and the 14lh Amendment of

the United States Constitution.

By reason of the aforesaid discriminatory conduct and the invidious

practices and policies of discrimination, Defendants has violated the

plaintiff’s rights under the lllinois Human Rights Act.

By these violations of law, Defendants have caused Plaintiff job-related

damages for lost wages and lost career opportunities

By these violations of law, Defendant has damaged the plaintiff’s good

name and professional reputation and has caused the Plaintiff mental

anguish.

 

 

29.

A.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully prays that this Court:

Declare and adjudge the conduct of the Defendants to be violative of the
Plaintiff’s right to a neutral work environment and to constitute
discrimination under 42 U.S.C. Section 1981 and 42 U.S.C. Section
M, 28 U.s.c. 1343 and the 14th Amendm@ttt or the united states
Constitution and the Illinois Human rights Act;

Declare and adjudge the Defendants’ conduct deny to Plaintiff equal
protection of the law;

Declare and adjudge the Defendants’ conduct to violate Plaintiff’s liberty
and property rights protected by the 14th Amendment;

Award Plaintiff compensatory damages;

Award the plaintiff monetary damages under the Illinois Human rights Act
for mental anguish caused by the defendant;

Change Plaintiff to a different shift;

G. Award Plaintiff reasonable costs and attorney’s fees;

Grant Such other and further relief as may be proper.

ATTORNEYS FOR PLAINTIFF

Dated September 11, 2000

By

   

HARRrs, M TCHELL&DI ZU U, Lc
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Step n S. Mitchelil

Attorney for the Plaintiff

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Harris, Mitchell & Dinizulu, LLC
Attorneys At Law

1753 E. 71St Street

Chicago, IL 60649

('773) 684~2800

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959 East 62nd, Chicago, IL 60637
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THE PARTIGULAHS ARE (!f additional space is nceded. attach extra sheet(s)):

I was hired by Respondent as a Police Officer on February 6, 1999. I
have been subjected to different terms and conditions of my employment
because of my race, in that I have been unfairly disciplined and
suspended without pay on November l6, 1999. Respondent refuses to grant
a change of shifts despite my senority. `

l believe that I have been discriminated against because of my race,

Blaek, in violation of Title VII of the Civil Rights Act of 19§4, as
amended. ~ ‘

EXHIBIT A

 

i:] I want this charge filed with both the EEOC and the State or NOTAF{Y - (When necessary for State and Local Hequirements)
local Agency, it any. I will advise the agencies if I change ny li_
address or telephone number and cooperate fully with them in the 1 S\Wal' °l" affirm that I have read fha RU°V€ charge and that

processing of my charge in accordance with their procedures_ it is true to the host of my knowledge, information and beiief.

I declare under penalty of perjury that the foregoing is true SIGNATURE op GOMpMINANT

and correct.
SUBSCHIBED AND SWORN TO BEFORE ME THIS DATE
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Equal Employlucnt Opportunity Commission

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To: CERTlFIED MAIL NO.: Z-346»545-02| C/P From:
Equal Employmcnl Opportuuily Commission
Shawn Gilbert Chicago District Offtce
959 East 62"" Street 500 West Madison Slreet1 Suitc 2800
Chicago, Illinois 60637 Chicago, Illinois 60661-2511

[ ] On behalf of a person aggrieved whose identity is
CONFIDEN'HAL (29 CFR § 1601 .7(o)) -' .
Charge No. EEOC Representative ' Telcphone No.
210A02822 Mr. Scott Sommers, Enforoement Supervisor (312) 886»911'1'
(Sce the additional information attached to this form.}

,»

YOUR CHARGE IS DISMISSED FOR TI-IE FOLLOWING REASON:
[ ] Thc facts you allege fail-to state a claim under any of the statutes enforced by the Commission

[ ] Respondent employs less than the required number of employeesh

[ ] Your charge was not timely filed with the Commission, i.e. , you waited too long after the date(s) of the discrimination you alleged to
file your charge. Becausc it was filed outside the time limit prescribed by law, the Commission cannot investigate your allegations

[ } You failed to provide requested information, failed or refused to appear or to be available for necessary interviews/conferences, or

otherwise refused to cooperate to the extent that the Commission has been unable to resolve your charge. You have had more than 30 days
in which to respond to our final written request.

[ ] The Commission has made reasonable efforts to locate you and has been unable to do so. You have had at least 30 days in which to
respond to a notice sent to your last known address.

[ ] 'l`he respondent has made a reasonable settlement offer which affords full relief for the harm you al!egod. At least 30 days have
expired since you received actual notice of this settlement offer.

[ x ] The Commission issues the following determination: Based upon the Commission's investigation the Commission is unable to conclude

that the information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with the
statutes No finding is made as to any other issues that might bc construed as having been raised by this charge.- t "

[ ] Ot.her (briejly stote)

 

- NOTICE OF SUIT RIGHTS -

[ x ] Title VII and/or the Americans with Disabilities Act: This is your NOTICE OF RIGHT TO SUE, which terminates the

Commission‘s processing of your charge. If you want to pursue your charge further. you have the right to sue the respondent(s) named in
your charge in a court of competentjurisdiction. If` you decide to sue, you must sue WITHIN 90 DAYS from your receipt of this
Notice; otherwise your right to sue is lost.

[ ] Age discrimination in Employment Act: This is your NO'I`ICE OF DISMISSAL OR TERMINATION, which terminates processing

of your ehargc. l'f you want to pursue your charge funher, you have the right to sue the respondent(s) named in your charge in a court of
competent jurisdiction If` you decide to sue, you must sue WITH[N 90 DAYS from your receipt of this Noticc; otherwise your right
to sue is lost.

l ] Equal Pay Act (EPA}: EPA suits must be brought within 2 years (3 years for willful violations) of the alleged EPA underpayment.
OuAbehalf of the Commission

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if J n P. Rowe, District Director

E,nclosures

lnfonnation Sheet
Copy of Charge

cc: Respondent(s) University of Chicago EXH I B I T B

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ClVlL COVER SHEET

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UNITED STATES DIS'I`RICT COURT
NORTHERN DISTRICT ()F ILLINOIS

ln the Matter of
SHAWN GILBERT

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UNIVERSITY 0F cHICAGO JUDGE COAR
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APPEARANCES ARE HE.REBY FILED BY THE UNDERSIGNED AS ATTORNEY(S) FOR:

 

 

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